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                                                                           FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON
1
                                                                  Jun 17, 2022
2                                                                     SEAN F. MCAVOY, CLERK



3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                  No. 1:22-cr-02043-SMJ-1
5
                              Plaintiff,
6                                               CASE MANAGEMENT ORDER
                 v.
7
     MARCELO ANTHONY BENSON,
8
                              Defendant.
9
           The Court now enters the following Case Management Order, which sets
10
     forth the hearings and requirements the parties will observe in this matter. To the
11
     extent this Order conflicts with any previously entered Orders in this matter, this
12
     Order shall govern. All counsel are expected to carefully read and abide by this
13
     Order. The Court will grant relief from the requirements in this Order only upon
14
     motion and good cause shown.
15
           IT IS HEREBY ORDERED:
16
           1.    Local Criminal Rules. Counsel shall comply with the Eastern District
17
                 of Washington Local Criminal Rules of Procedure (LCrR), except
18
                 where specifically modified below or by subsequent Order.
19
           2.    Emailing the Court. Where this Order requires counsel to email
20
                 documents to the Court, all documents shall be attached to the email


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1              in Microsoft Word (.doc/.docx) or rich-text (.rtf) format. The subject

2              line of each email shall be formatted as follows:

3                    [Case No.]; [Case Name]; [Title of Document]

4                    (e.g.: 13-cr-9999-SMJ; USA v. Doe; Trial Brief)

5        3.    Discovery

6              A.    All discovery documents must be Bates-stamped with a unique

7                    identifier and must be produced digitally in a text-searchable

8                    format. The Court will grant relief from this requirement only in

9                    exceptional circumstances, upon motion and good cause shown.

10             B.    Production of discovery shall be governed by Local Criminal

11                   Rule 16. See LCrR 16.

12             C.    The Court presumes a request for discovery and disclosure

13                   under Federal Rules of Evidence 404(b), 608(b), and 609, Brady

14                   v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405

15                   U.S. 150 (1972), United States v. Henthorn, 931 F.2d 29 (9th

16                   Cir. 1991), and their progeny, and as such these items are

17                   ordered disclosed by the deadline set forth in Local Criminal

18                   Rule 16.

19             D.    At arraignment or within 14 days thereafter, the Government is

20                   required to disclose evidence relating to Defendant’s guilt or




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1                       punishment that might reasonably be considered favorable to the

2                       Defendant. See LCrR 16(a)(6); see also Brady, 373 U.S. 83;

3                       United States v. Agurs, 427 U.S. 97 (1976); Fed. R. Crim. P.

4                       5(f).1 This is a continuing duty for newly discovered evidence.

5                       LCrR 16(c); see also [ECF Nos. 18,21]

6                 E.    Pursuant to Federal Rule of Criminal Procedure 16(d)(2), the

7                       consequences for violating either this Court’s Standing

8                       Disclosure Order, ECF No. 21 or the Government’s obligations

9                       under Brady include, but are not limited to, the following:

10                      contempt, sanction, referral to a disciplinary authority, adverse

11                      jury instruction, exclusion of evidence, and dismissal of

12                      charges.

13          4.    Expert-Witness Summaries

14                A.    When each party produces to opposing counsel summaries of its

15                      expert-witness testimony for which disclosure is required under

16                      Federal Rule of Criminal Procedure 16 and Local Criminal Rule

17                      16, counsel shall also email an electronic copy of the summary

18                      to the Court at MendozaOrders@waed.uscourts.gov.

19

20   1
       Nothing in this requirement enlarges or diminishes the Government’s obligation
     to disclose information and evidence to the Defendant under Brady and its progeny.


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1              B.    All summaries of expert witness testimony must conform to

2                    Federal Rule of Criminal Procedure 16, Local Criminal Rule 16,

3                    and applicable case law interpreting those Rules. The Court will

4                    not permit an expert witness to testify about opinions which are

5                    not explicitly expressed in that expert’s summary. See, e.g.,

6                    United States v. W.R. Grace, 526 F.3d 499 (9th Cir. 2008).

7        5.    CM/ECF Technical Assistance. Parties requiring technical assistance

8              concerning the CM/ECF system, such as the procedures for filing non-

9              scannable exhibits, shall consult the District’s “Electronic How To”

10             page (https://www.waed.uscourts.gov/electronic-how) or contact the

11             CM/ECF Help Desk by phone at (866) 236-5100 or (509) 458-3410 or

12             by email at ecfinfo@waed.uscourts.gov. Inquiries requesting technical

13             assistance concerning the CM/ECF system shall not be directed to the

14             Judge’s chambers.

15       6.    Motions Practice

16             A.    Generally. All motions shall either be: a) noted for hearing

17                   without oral argument fourteen (14) days after filing, or b) noted

18                   for hearing with oral argument at the pretrial conference

19                   pursuant to Local Criminal Rule 12(c). Responses and replies

20                   to motions must be filed in accordance with Local Criminal Rule




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1                    45 and 47, which incorporate the requirements of Local Rule

2                    7.1.

3              B.    Expedited Hearing. Any party seeking an expedited hearing on

4                    a time-sensitive matter must comply with Local Criminal Rule

5                    12(c)(3).

6              C.    If a case has more than one defendant, the Court will construe

7                    any motion, including motions to continue, as applying to all

8                    defendants, unless that defendant indicates they do not wish to

9                    be joined in the motion. Defendants thus do not need to file

10                   motions to join.

11             D.    Sealed Documents.        Any and all sealed documents (e.g.,

12                   medical records) shall be filed by the parties under the sealed

13                   event as a sealed document. The parties are not required to file

14                   a separate motion to seal the documents. The parties shall file

15                   any objections to the sealed document(s) by no later than five

16                   days after the filing of the sealed document(s).

17       7.    Witness Testimony. At any hearing, including trial, in which witness

18             testimony is given, the witness must testify in Court and, absent

19             exceptional circumstances, may not appear by telephone or video

20             conference.




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1           8.    Trial Continuances

2                 A.    Motion Deadline. All motions to continue the trial must be

3                       heard before or at the pretrial conference. Any motion to

4                       continue trial made after the pretrial conference has

5                       occurred     will      not     be    granted     absent   exceptional

6                       circumstances.

7                 B.    Statement of Reasons. If the Defendant seeks a continuance, a

8                       Speedy Trial Waiver and Statement of Reasons in support of the

9                       motion to continue must be filed contemporaneously with the

10                      motion.2 The Statement of Reasons must (1) be signed by the

11                      Defendant, (2) be signed by a certified translator, if applicable,

12                      and (3) indicate the latest date upon which Defendant is willing

13                      to proceed to trial.

14                C.    Procedure. Before filing a motion to continue, counsel shall

15                      first contact the Courtroom Deputy at (509) 943-8173 to obtain

16                      new pretrial conference and trial dates consistent with the length

17                      of the requested trial continuance. Thereafter, counsel shall

18                      confer with opposing counsel regarding case management

19
     2
       The Court’s Speedy Trial Waiver and Statement of Reasons form can be found at
20   the following link: http://www.waed.uscourts.gov/sites/default/files/forms/
     smj_stmt_reasons_mot_to_cont.pdf.


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1                       deadlines3 consistent with the new pretrial conference and trial

2                       date. All motions to continue must include proposed case

3                       management deadlines (either joint or individual) to ensure

4                       the to-be-imposed deadlines are best suited to this case.

5           9.    Pretrial Conference

6                 A.    The Pretrial Conference is SET for July 27, 2022, at 11:45

7                       A.M. in YAKIMA. At this hearing, the Court will hear ALL

8                       pretrial motions that are noted for oral argument.

9                 B.    All pretrial conferences are scheduled to last no more than

10                      thirty (30) minutes, with each side allotted fifteen (15)

11                      minutes to present their own motions and resist motions by

12                      opposing counsel. If any party anticipates requiring longer than

13                      fifteen minutes, that party must notify the Courtroom Deputy at

14                      least seven (7) days prior to the hearing. Any party who fails

15                      to provide this notice will be limited to fifteen (15) minutes.

16                C.    If a motion is to be heard with oral argument, and a party plans

17                      to call witnesses or present exhibits, that party must file an

18

19
     3
      A form with the Court’s standard case management deadlines can be found at the
20   following link: http://www.waed.uscourts.gov/sites/default/files/forms/
     Proposed%20Case%20Management%20Deadlines.pdf.


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1                    exhibit and/or witness list by no later than seventy-two hours

2                    before the hearing on the motion.

3              D.    If a party intends to use a laptop, thumb drive, or DVD or CD

4                    for presentation of documents, or audio or video recordings, that

5                    party must contact the Courtroom Deputy at least two weeks

6                    prior to the hearing and confirm the compatibility of the

7                    technology and equipment.

8              E.    If a party intends to use a demonstrative exhibit, such as a

9                    PowerPoint presentation, it must be submitted to the Court and

10                   all opposing parties at least twenty-four hours prior to its

11                   intended use.

12       10.   Exhibit Lists

13             A.    On August 5, 2022, after conferring with counsel at the pretrial

14                   conference each party shall file a list of exhibits the party intends

15                   to introduce at trial. Each party shall also email copies of their

16                   exhibit list to the Court at MendozaOrders@waed.uscourts.gov.

17                   The parties shall provide their exhibit list in the following

18                   format:

19

20



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1                      Ex. #    Admitted Description
                       1                 Photograph of items seized
2                      2                 Aerial video surveillance from 1/1/2011.
                                         Start Time: 01:03:23
3                                        End Time: 01:09:54

4
                     Exhibit lists shall include a unique exhibit number and a brief
5
                     description of the exhibit. For all exhibits consisting of an audio
6
                     or video file, the exhibit list must designate the precise
7
                     beginning and ending time indexes of the portion of the file the
8
                     party intends to use at trial.
9
               B.    The USAO shall consecutively number their exhibits from 1 to
10
                     999. In single-defendant cases, Defendant shall consecutively
11
                     number exhibits from 1000 to 1999; in multi-defendant cases,
12
                     Defendants shall consecutively number exhibits from x000 to
13
                     x999, substituting “x” for each Defendant’s assigned case
14
                     identifier (e.g. Defendant 3 would number exhibits from 3000
15
                     to 3999, etc.). Exhibits shall be pre-marked for identification
16
                     before trial commences.
17
         11.   Witness Lists. On August 5, 2022, after conferring with counsel at
18
               the pretrial conference, each party shall file and serve a list of
19
               witnesses that party intends to call to testify at trial. The witness list
20
               must identify the existence, but need not include the name, of any


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1               CI the USAO intends to call to testify. Parties shall email copies of

2               their witness list to the Court at MendozaOrders@waed.uscourts.gov.

3         12.   Trial Briefs, Proposed Jury Instructions and Verdict Form, and

4               Requested Voir Dire. On August 3, 2022, after conferring with

5               counsel at the pretrial conference, each party shall file a trial brief,

6               proposed jury instructions and verdict form, and requested voir dire, in

7               accordance with the requirements below. Each party shall email

8               copies to the Court at MendozaOrders@waed.uscourts.gov.

9               A.    Trial Briefs. Trial briefs shall not exceed twenty (20) pages

10                    without prior Court approval, upon motion and good cause

11                    shown.

12              B.     Proposed Jury Instructions and Verdict Form. Jury

13                    instructions shall (1) address issues that are unique to the case,

14                    and (2) include instructions regarding the elements of each

15                    charge or defense. If a Ninth Circuit Model Jury Instruction

16                    exists for a particular charge or defense, the parties shall provide

17                    the model instruction or shall submit argument as to why the

18                    instruction is inadequate or no longer supported by law.

19                    Proposed jury instructions shall be accompanied by a proposed

20                    verdict form. The parties must confer to develop joint




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1                     proposed jury instructions and the verdict form. The Court

2                     will only accept an individual party’s proposed jury instructions

3                     on those points/issues upon which the parties could not agree,

4                     and only if the party’s memoranda accompanying the

5                     individually proposed instruction(s) sets forth the legal authority

6                     and justification for why the instruction is necessary.

7               C.    Requested Voir Dire. The parties may request that the Court

8                     include specific questions during the Court’s standard voir dire.

9                     Requested voir dire shall not duplicate information elicited in

10                    the Clerk’s Office Jury Questionnaire (“COJQ”) and the Court’s

11                    Criminal Jury Trial Procedures Letter.

12        13.   Exhibit Binders. On August 5, 2022, after conferring with counsel

13              at the pretrial conference, each party must provide to all other parties

14              and to the Court a Bates-stamped copy of all trial exhibits — or, in the

15              case of physical exhibits, a photograph or other reproduction of the

16              exhibit — the party intends to introduce at trial. All trial exhibits shall

17              be organized sequentially by exhibit number in a three-ring binder.

18        14.   JERS.

19              A.    The Court utilizes the Jury Evidence Recording System (JERS),

20                    a system that makes electronic evidence available in the jury




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1                        room during deliberations. Counsel shall promptly consult

2                        the Court’s “JERS Instructions for Attorneys”4 to ensure

3                        they acquire, retain, and provide evidence to the Court in

4                        the necessary format.

5                  B.    On August 9, 2022, after conferring with counsel at the pretrial

6                        conference, each party who intends to introduce evidence at trial

7                        must supply a CD, DVD, or USB drive to the Courtroom Deputy

8                        containing all of that party’s exhibits in the required format.

9                        Counsel may contact the Courtroom Deputy at (509) 943-8173

10                       with any questions.

11           15.   Trial Notices. On August 5, 2022, after conferring with counsel at

12                 the pretrial conference, each party shall file a notice that indicates the

13                 amount of time requested for opening statement and for voir dire. In

14                 addition, defense counsel must indicate if his/her client waives

15                 presence at sidebar and jury questions.

16           16.   Technology Readiness Meeting. On August 9, 2022, any party

17                 seeking to offer video or audio evidence at trial must meet with Court

18                 staff at the location of the trial to verify compatibility with the Court’s

19
     4
       This document can be found on the Court’s public website at the following link:
20   http://www.waed.uscourts.gov/content/jers-jury-evidence-recording-system-
     information-attorneys.


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1                presentation systems. The parties shall contact the Courtroom Deputy

2                at (509) 943-8173 to arrange this meeting.

3         17.    Trial. The jury trial is SET for August 15, 2022, at 9:00 AM in

4                YAKIMA. The final pretrial conference will commence at 8:30 AM

5                on the first day of trial.

6         18.    Summary of Deadlines

7     All pretrial motions, including discovery
      motions, Daubert motions, and motions in                     June 29, 2022
8     limine, filed
      PRETRIAL CONFERENCE                                           July 27, 2022
9     Deadline for motions to continue trial                    11:45 AM - YAKIMA
      CIs’ identities and willingness to be interviewed
10                                                                 August 1, 2022
      disclosed to Defendant (if applicable)
      Grand jury transcripts produced to Defendant
11                   Case Agent:                                   August 1, 2022
                     CIs:                                          August 1, 2022
12                   Other Witnesses:                              August 1, 2022
      Exhibit lists filed and emailed to the Court                 August 5, 2022
13
      Witness lists filed and emailed to the Court                 August 5, 2022
14    Trial briefs, jury instructions, verdict forms, and
                                                                   August 3, 2022
      requested voir dire filed and emailed to the Court
15    Exhibit binders delivered to all parties and to the
                                                                   August 5, 2022
      Court
16    Delivery of JERS-compatible digital evidence
                                                                   August 9, 2022
      files to the Courtroom Deputy
17    Trial notices filed with the Court                           August 5, 2022
      Technology readiness meeting (in-person)                     August 9, 2022
18                                                                August 15, 2022
      FINAL PRETRIAL CONFERENCE
                                                                8:30 AM - YAKIMA
19
                                                                  August 15, 2022
      JURY TRIAL
                                                                9:00 AM - YAKIMA
20



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1

2          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

3    provide copies to all counsel, the U.S. Probation Office, and the U.S. Marshals

4    Service.

5          DATED this 17th day June 2022.

6

7                      __________________________
                       SALVADOR MENDOZA, JR.
8                      United States District Judge

9

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     CASE MANAGEMENT ORDER – 14
